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                   BRIAN H O L L A N D AND ANDREA                                     IN T H E COUNTY COURT IN A N D
                                                                        FOR
                   HOLLAND a/k/a/ BRIAN HOLLAND                               MIAMI-DADE COUNTY
                   5561 R E N T ACCOUNT.
                                                                              C I V I L DIVISION
                            Plaintiff.     ,. ,      .,.•.»   .......
                   vs.                                                                             . . .    ^^^^g
                                                                              18-8187 C C 0 5

                   A P L U S LAMINATION & FINISHING
                   INC., a Florida Corporation and all
                   other occupants.

                            Defendants.
                                                                    /

                                O R D E R D I R E C T I N G DEPOSIT OF R E N T INTO R E G I S T R Y O F COURT

                            T H I S C A U S E C A M E ON T O B E H E A R D before me, on May 3, 2018, upon Plamtifrs
                   Motion for Order Directing Deposit of Rent Into Registry of Court, and, having appeared counsel for
                   Plaintiff and Defendant and the respective parties, A e r having heard argument ffom counsel, having
                   reviewed the Court file and being otherwise folly advised in the premises, it is:

                            O R D E R E D AND A D J U D G E D :

                            1. PlamtitTs Motion for Order Directing Deposit of Rent Into Registry of Court be and the same
                   IS hereby granted.

                           2. The Defendant, A P L U S LAMINATION & FINISHING, INC.. is hereby ordered to deposit the
.-^^^              sum of $9,000,00 into the Miami-Dade County Ifogistrv of Court on or before May 7. 2018.

                           3. The Defendant, A P L U S LAMINATION & FINISHING, INC., is hereby ordered to deposit the
                   sum of $9,000.00 into the Miami-Dade County Registry of Court on or before May 14. 2018,

                            .3 The Defendant shall further timely deposit the rem as it becomes due into the Registry of
                   Court,

                            4 The Defendant's failure to timely pay the ordered sums into the Registry of Court shall
                   constitute and absolute waiver of its defenses, other than payment or proof of payment and Plaintiff shall
                   be entitled to a Dctault/Dcfault Final judgment for Removal of Tenant and a Writ of Possession to issue
                   forthwith without the necessity of fortlicr hearing pursuant to Section 83,232, Florida St^utcs.

                          5, Upon Defendant making timely deposit into the Registr% of Court of the sums due on Ma\.
                   2018 and May 14. 2018. the parties shall appear for mediation on May 15. 2018 at 1:30 PM.

                            DONE AND ORDERED in Chambers at Miami-Dade County, Florida, on 05/10/18.




                                                                ALEXANDER S. BOKOR
                                                                COUNTY COURT JUDGE

                   The parties served with this Order are indicated in the accompanying U t h Circuit email
                   confirmation which includes all emails provided by the submitter. The movant shall




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            IMMEDIATELY serve a true and correct copy of this Order, by mail, fecsimile, email or
            hand-delivery, to all parties/counsel of record for whom service is not indicated by the
            accompanying 11th Circuit confirmation, and file proof of service with the Clerk of Court.

            Signed original order sent electronically to the Clerk of Courts for filing in the Court file.
            Conformed copies to:                                   ^     . ^,   ^^   ,

            JOSEPH R. C O L L E T T I . P A
            Anomcx for PlaimifT

            A L E X A N D E R E B O R E L L . ESQ
            Attomcv for Defendant                              <




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